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16                       UNITED STATES DISTRICT COURT
17                      CENTRAL DISTRICT OF CALIFORNIA
18                               WESTERN DIVISION
19
   IN RE BANC OF CALIFORNIA,              )   Lead Case No. 8:19-cv-621-DMG-DFMx
20 INC. STOCKHOLDER                       )
   DERIVATIVE LITIGATION                  )   (Consolidated with Case Nos. 19-cv-
21                                        )   1152 and 19-cv-05488)
                                          )
22 This Document Relates To:              )   NOTICE OF PENDENCY AND
                                          )   PROPOSED SETTLEMENT OF
23      ALL ACTIONS.                      )   STOCKHOLDER DERIVATIVE
                                          )   ACTION
24                                        )
                                          )
25                                        )   EXHIBIT D
26
27
28
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 1 TO: ALL OWNERS OF THE COMMON STOCK OF BANC OF CALIFORNIA,
       INC. ("BANC" OR THE "COMPANY") CURRENTLY AND AS OF
 2     AUGUST 27, 2021:
 3     THIS NOTICE RELATES TO THE PENDENCY AND PROPOSED
       SETTLEMENT OF STOCKHOLDER DERIVATIVE LITIGATION.
 4     PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. IF
       YOU ARE A BANC STOCKHOLDER, THIS NOTICE CONTAINS
 5     IMPORTANT INFORMATION ABOUT YOUR RIGHTS.
 6         YOU ARE HEREBY NOTIFIED, pursuant to an Order of the U.S. District Court
 7 for the Central District of California (the "Court"), that a proposed settlement has been
 8 reached by the parties to the above-captioned stockholder derivative action brought on
 9 behalf and for the benefit of Banc, titled In re Banc of California, Inc. Stockholder
10 Derivative Litigation, Lead Case No. 8:19-cv-621-DMG-DFMx (the "Action"). 1
11         As explained below, a hearing will be held on December 17, 2021 at 10:00 a.m.,
12 before the Honorable Dolly M. Gee, at the U.S. District Court for the Central District of
13 California, United States Courthouse, 350 West 1st Street, Courtroom 8C, 8th Floor, Los
14 Angeles, California 90012 (the "Settlement Hearing"), at which the Court will determine
15 whether to approve the Settlement. You have an opportunity to be heard at this hearing.
16         The terms of the Settlement are set forth in the Stipulation and summarized in this
17 Notice. If approved by the Court, the Settlement will fully resolve the Released Claims,
18 including the dismissal of the Action with prejudice. For a more detailed statement of the
19 matters involved in the Released Claims, the Settlement, and the terms discussed in this
20 Notice, the Stipulation may be inspected at the Clerk of Court's office, U.S. District Court
21 for the Central District of California, United States Courthouse, 350 West 1st Street, Los
22 Angeles, California 90012, Courtroom 8C, 8th Floor. The Stipulation and full-length
23 Notice of Pendency and Proposed Settlement of Stockholder Derivative Action are also
24 available for viewing on Banc's website at https://investors.bancofcal.com/financials-and-
25
26   1
     All capitalized terms herein have the same meanings as set forth in the Parties' Corrected
27 Stipulation and Agreement of Settlement dated August 27, 2021 (the "Stipulation"), which
28 is available for viewing on Banc's website at https://investors.bancofcal.com/financials-
   and-filings/documents/default.aspx.
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 1 filings/documents/default.aspx. In addition, as of October 29, 2021, Plaintiffs' motion in
 2 support of Court approval of the Settlement and Plaintiffs' Counsel's application for
 3 attorney's fees, costs, and expenses will be available for viewing on Plaintiffs' Counsel's
 4 website at https://robbinsllp.com/bancofcalifornia-settlement/. For a fee, all papers filed
 5 in the Action are available at www.pacer.gov.
 6         This Notice is not intended to be an expression of any opinion by the Court with respect
 7 to the merits of the claims made in the Action, but is merely to advise you of the pendency
 8 and settlement of the Action.
 9         THERE IS NO CLAIMS PROCEDURE. This case was brought to protect the
10 interests of Banc. The Settlement will result in changes to the Company's corporate
11 governance, not in payment to individuals, and accordingly, there will be no claims
12 procedure.
13 I.      THE DERIVATIVE ACTIONS
14         A.   The Gordon Demand Futility Action
15         On September 26, 2017, plaintiff Kristopher Gordon ("Gordon") filed the Gordon
16 Demand Futility Action, a stockholder derivate action captioned Gordon v. Sznewajs, et
17 al., Case No. 8:17-cv-1678 (C.D. Cal.), alleging certain individuals—who constituted a
18 majority of Banc's Board at the time—breached their fiduciary duties in connection with,
19 among other things, the Board's response to allegations made in an October 18, 2016 post
20 on SeekingAlpha.com (the "Aurelius Blog").            The Aurelius Blog, entitled "BANC:
21 Extensive Ties to Notorious Fraudster Jason Galanis Make Shares Un-Investible," alleged
22 a web of improper relationships between Jason Galanis, a Los Angeles financier and
23 convicted fraudster, and Banc's senior managers.
24         Gordon alleged he was excused from making a pre-litigation stockholder demand to
25 investigate the wrongdoing described in the Gordon Demand Futility Action because a
26 majority of the Board was conflicted and faced substantial personal liability for the conduct
27 described in the Gordon Demand Futility Action.
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 1         By Order dated June 13, 2018, the Court granted Defendants' motions to dismiss the
 2 Gordon Demand Futility Action, with leave to amend. On June 22, 2018, Gordon filed a
 3 notice of voluntary dismissal of the Gordon Demand Futility Action.
 4         B.   Plaintiffs' Litigation Demands Pursuant to Maryland Law
 5         On November 17, 2017, Colleen Witmer ("Witmer") sent a written demand to Banc's
 6 Board demanding the Board investigate and, if appropriate, pursue litigation relating to
 7 facts substantially similar to those alleged in the Gordon Demand Futility Action, including
 8 undisclosed relationships between certain of Banc's top executive and Galanis, other
 9 undisclosed conflicts of interest and related party transactions involving members of the
10 Board, and alleged accounting manipulations (the "Witmer Demand").
11         On January 8, 2018, Banc responded to the Witmer Demand, stating that the
12 Company would not initiate any investigation in response until the related, then-pending
13 Gordon Demand Futility Action was resolved.
14         On February 12, 2018, Witmer filed a stockholder derivative action captioned
15 Witmer v. Sugarman, et al., Case No. 8:18-cv-00246 (C.D. Cal.) ("First Witmer Demand
16 Refused Action"), alleging wrongful refusal of the Witmer Demand. By Order dated
17 August 23, 2018, the Court granted Banc's motion to dismiss the First Witmer Demand
18 Refused Action.
19         On May 22, 2018, Donald Johnston ("Johnston")2 sent a written demand to Banc's
20 Board demanding that the Board investigate, address, remedy, and commence proceedings
21 against certain of the Company's current and former officers and directors for breach of
22 fiduciary duties, violations of sections 10(b) and 20(a) of the Securities Exchange Act of
23 1934, and any applicable laws, rules, and regulations related to the Company's internal
24 controls and the alleged improper relationship between Banc's top executives, its Board,
25 and Galanis (the "Johnston Demand").
26
27   2
     Plaintiff Donald Johnston ("Johnston") plans to file a request to withdraw as plaintiff in
28 this consolidated derivative action.
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 1        On July 3, 2018, after the Gordon Demand Futility Action was voluntarily
 2 dismissed, Gordon sent a written demand to Banc's Board demanding that the Board
 3 commence a good faith investigation into allegations of misconduct by certain current and
 4 former officers and directors and requested the Board take appropriate steps to remedy the
 5 identified breaches of fiduciary duty and remedy Banc's weak internal controls (the
 6 "Gordon Demand").
 7        On September 4, 2018, Johnston wrote to Banc requesting information relating to
 8 the purported investigation by the Board into the stockholder demands.
 9        On January 4, 2019, Banc responded separately to the Witmer Demand, the Johnston
10 Demand, and the Gordon Demand, and rejected each of them (the "Rejection Letters").
11 The Rejection Letters stated that Banc had investigated the subject matters raised in the
12 demands and determined it would not be in the best interest of the Company to pursue the
13 claims alleged or implement any additional remedial measures at the time.
14        On January 24, 2019, Gordon wrote the Board requesting documents demonstrating
15 the Board's process and conclusions in reaching its decision to reject the stockholders'
16 demands. On February 25, 2019, Johnston wrote Banc similarly requesting such books
17 and records. Banc declined to produce the requested books and records.
18        C.   The Demand Refused Actions
19        On April 2, 2019, Gordon filed a stockholder derivative action, captioned Gordon v.
20 Bennett, et al., Case No. 8:19-cv-00621-DMG-DFMx (C.D. Cal.) (the "Gordon Demand
21 Refused Action"), alleging Defendants violated their fiduciary duties in connection with
22 the misconduct described in the Gordon Demand and further alleging the Board's decision
23 to reject the demand was improper under Maryland law.
24        On June 10, 2019, Johnston also filed a stockholder derivative action captioned
25 Johnston v. Sznewajs, et al., Case No. 8:19-cv-01152-AG-DFMx (C.D. Cal.), similarly
26 alleging breaches of fiduciary duty arising from substantially the same misconduct as that
27 alleged in the Gordon Demand Refused Action (the "Johnston Demand Refused Action").
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 1         On June 24, 2019, Witmer filed a stockholder derivative action captioned Witmer v.
 2 Sugarman, et al., Case No. 2:19-cv-05488-AG-DFMx (C.D. Cal.), also alleging
 3 misconduct substantially similar to that alleged in the Gordon Demand Refused Action and
 4 the Johnston Demand Refused Action ("Second Witmer Demand Refused Action").
 5         On September 23, 2019, the Court entered an order approving the parties' stipulation
 6 to consolidate the Gordon Demand Refused Action, Johnston Demand Refused Action,
 7 and the Second Witmer Demand Refused Action, and appoint Schubert Jonckheer & Kolbe
 8 LLP and Robbins LLP as co-lead counsel. See Gordon Demand Refused Action, ECF
 9 Nos. 56-57.
10         On November 15, 2019, Plaintiffs Gordon, Johnston, and Witmer collectively sent
11 another written litigation demand (the "November 15, 2019 Demand") to Banc regarding
12 additional potential misconduct which had recently come to light. The November 15, 2019
13 Demand requested that the Board investigate and take appropriate action to remedy, among
14 other alleged wrongdoing, potentially improper kickbacks, undisclosed conflicts of
15 interest, and retaliation against whistleblowers.
16         On November 22, 2019, Plaintiffs filed a Verified Consolidated Shareholder
17 Derivative Complaint ("Consolidated Complaint"). The Consolidated Complaint alleges
18 that the Individual Defendants—current and former officers and directors of the
19 Company—breached their fiduciary duties to Banc. The Consolidated Complaint alleges
20 that the Board's decision to reject the stockholder demands was improper under Maryland
21 law.
22         On December 6, 2019, the parties submitted to the Court a stipulation (the
23 "December 6 Stipulation") that provided a briefing schedule for Defendants' anticipated
24 motions to dismiss the Action. On December 9, 2019, the Court entered an order approving
25 the December 6 Stipulation.
26         D.    Settlement Negotiations
27         Shortly after the Court approved the December 6 Stipulation, the parties commenced
28 negotiations to settle the Action. Plaintiffs' Counsel state that, after obtaining Banc's
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 1 confidential, internal policies reflecting its relevant internal controls, Plaintiffs' Counsel
 2 thoroughly analyzed Banc's corporate governance, reviewed industry best practices, and
 3 proposed a slate of thorough corporate governance reforms that could strengthen the
 4 Company's internal controls and form a basis for a settlement of the Action. The Parties
 5 thereafter engaged in extensive and protracted arm's-length negotiations regarding the
 6 corporate governance reforms, which included numerous phone calls and emails, and
 7 several settlement proposals and counterproposals over the course of many months. The
 8 Parties regularly sought, and the Court granted, extensions to the proposed briefing
 9 schedule regarding responses to the Consolidated Complaint to accommodate the ongoing
10 negotiations.
11         After significant and contentious arm's-length negotiations, the Parties reached
12 agreement on the substantive terms of the proposed Settlement, which were memorialized
13 in a Memorandum of Understanding ("MOU") dated April 6, 2021.
14         After signing the MOU, the Parties commenced negotiations relating to the
15 attorneys' fees and expenses to be paid to Plaintiffs' Counsel in recognition of the benefits
16 conferred on the Company through the Reforms. No agreement could be reached.
17 II.     PLAINTIFFS' CLAIMS AND THE BENEFITS OF SETTLEMENT
18         Plaintiffs' Counsel believe that the claims asserted in the Action have merit, and
19 Plaintiffs' entry into the Settlement is not intended to be and shall not be construed as an
20 admission or concession concerning the relative strength or merit of the claims alleged.
21 However, Plaintiffs and Plaintiffs' Counsel recognize and acknowledge the significant risk,
22 expense, and length of continued proceedings necessary to prosecute the Action against the
23 Individual Defendants through trial and possible appeals.
24         Plaintiffs' Counsel also have taken into account the uncertain outcome and the risk
25 of any litigation, especially in complex cases such as the Action, as well as the difficulties
26 and delays inherent in such litigation. Plaintiffs' Counsel are also mindful of the inherent
27 problems of establishing standing in derivative litigation, and the possible defenses to the
28 claims alleged.
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 1         Plaintiffs' Counsel state that they conducted an extensive investigation relating to
 2 the claims and the underlying events alleged in the Action, including, but not limited to:
 3 (1) inspecting, analyzing, and reviewing Banc's public filings with the SEC, press releases,
 4 announcements, transcripts of investor conference calls, and news articles; (2) consulting
 5 with an accounting expert; (3) drafting litigation demand letters; (4) drafting the complaints
 6 in the Derivative Actions, including the Consolidated Complaint; (5) researching the
 7 applicable law with respect to the claims asserted in the Action and the potential defenses
 8 thereto; (6) reviewing and analyzing securities analysts' reports and advisories and media
 9 reports about the Company; (7) reviewing and analyzing the pleadings contained in the
10 related Securities Action, as well as other lawsuits relevant to the allegations made in the
11 Action; (8) researching the Company's internal corporate governance policies, processes,
12 and procedures, as well as those of the Company's peers; (9) preparing and submitting a
13 detailed settlement demand and modified demands over the course of the Parties' settlement
14 negotiations; (10) engaging in extensive settlement discussions with counsel for
15 Defendants regarding the specific facts of the Action, the perceived strengths and weakness
16 of the claims and defenses thereto, and the remedies that might be secured through
17 litigation as compared to those that could be secured through settlement; (11) negotiating
18 the terms of a written memorandum of understanding embodying the principal substantive
19 settlement terms; and (12) negotiating a comprehensive final Stipulation of Settlement.
20         Based on Plaintiffs' Counsel's thorough review and analysis of the relevant facts,
21 allegations, defenses, and controlling legal principles, Plaintiffs' Counsel believe that the
22 proposed Settlement is fair, reasonable, and adequate, confers substantial benefits upon
23 Banc, and is in the best interests of the Banc and its stockholders. Accordingly, Plaintiffs
24 have agreed to settle the Action upon the terms and subject to the conditions set forth in
25 the Stipulation.
26 III.    DEFENDANTS' DENIALS OF WRONGDOING AND LIABILITY
27         Defendants have denied and continue to deny each and all of the claims and
28 contentions alleged by Plaintiffs in the Derivative Actions and the Demand Letters, and the
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 1 Individual Defendants have expressly denied and continue to deny all charges of
 2 wrongdoing or liability against them arising out of any of the conduct, statements, acts, or
 3 omissions alleged, or that could have been alleged in the Derivative Actions and the
 4 Demand Letters. Nonetheless, Defendants have also taken into account the uncertainty
 5 and risks inherent in any litigation, especially in complex cases like the Action. Defendants
 6 have, therefore, determined that it is in the best interests of Banc and its stockholders for
 7 the Action to be settled in the manner and upon the terms and conditions set forth in the
 8 Stipulation.
 9         Neither the Stipulation, nor any of its terms or provisions, nor entry of the Order and
10 Final Judgment (as defined in the Stipulation), nor any document or exhibit referred or
11 attached to the Stipulation, nor any action taken to carry out the Stipulation, is or may be
12 construed or used as evidence of the validity of any of Plaintiffs' Released Claims, or as an
13 admission by or against any of the Defendants or any Defendants' Released Persons of any
14 fault, wrongdoing, or concession of liability whatsoever.
15 IV.     BOARD APPROVAL
16         The Board, in a good-faith exercise of its business judgment, has concluded that the
17 Reforms to be implemented and maintained by the Banc as a result of the Settlement confer
18 benefits on the Company, and has approved the Settlement, and each of its terms as set
19 forth in this Stipulation, as being in the best interests of Banc and its stockholders.
20 V.      TERMS OF THE SETTLEMENT
21         The terms and conditions of the proposed Settlement are set forth in the Stipulation,
22 which has been filed with the Court and is available for viewing on Banc's website at
23 https://investors.bancofcal.com/financials-and-filings/documents/default.aspx. The following is only
24 a summary of the Settlement's terms.
25         As consideration for the Settlement, and as a result of the filing, prosecution, and
26 settlement of the Action, Banc shall implement (to the extent not already implemented) the
27 corporate governance reforms ("Reforms") set forth in Exhibits A and B to the Stipulation.
28 Banc, acting through its Board, acknowledges and agrees that: (1) Plaintiffs' litigation and
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 1 settlement efforts were a substantial and material factor in the Board's agreement to adopt,
 2 implement, and maintain the Reforms; and (2) the Reforms confer benefits on Banc, and
 3 (3) the Settlement is fair, reasonable, and in the best interests of the Company.
 4         The Reforms provide for, among other things:
 5              Credit for Two New Independent Directors: Banc acknowledges that the
 6 filing and maintenance of Plaintiffs' stockholder derivative actions, and the service of
 7 Plaintiffs' litigation demands, were substantial and material factors contributing to ongoing
 8 changes to the Board composition, including the recent appointment of two independent
 9 directors, James A. Barker and Andrew Thau.
10              Credit for Enhancements to Code of Ethics: Banc acknowledges that the
11 filing and maintenance of Plaintiffs' stockholder derivative actions, and the service of
12 Plaintiffs' litigation demands, were substantial and material factors contributing to Banc's
13 decision to revise its Code of Ethics in the following ways: (1) Section 1.3 of the Code
14 (titled "Reporting Violations of the Code"), was amended to provide that reports under this
15 provision may also be made pursuant to the Whistleblower Hotline and to provide the
16 telephone and online reporting mechanisms provided by the Whistleblower Hotline; (2)
17 Section 3.2 (titled "Waivers") was amended to provide that (a) requests for waiver should
18 be directed through the General Counsel and (b) any waiver granted to directors or
19 executive officers, the reasons therefor, and any changes to the Code applicable to directors
20 or executive officers, shall be disclosed in a Form 8-K filed with the U.S. Securities and
21 Exchange Commission or posted to the Company's internet website. Banc agreed to
22 maintain these amendments to the Code of Ethics for a minimum of two years.
23              Formal Whistleblower Policy: Banc agreed to adopt a new stand-alone
24 comprehensive Whistleblower Policy ("Whistleblower Policy") that sets forth in one
25 document Banc's policies and procedures for employees to submit anonymous
26 whistleblower reports and how such reports will be addressed.               A copy of the
27 Whistleblower Policy is attached to the Stipulation as Exhibit B. Banc may amend the
28 Whistleblower Policy to enact policies and procedures that Banc reasonably believes
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 1 enhances the protections of the Whistleblower Policy, but Banc agreed that it will not
 2 materially diminish the protections contained in the Whistleblower Policy for a minimum
 3 of three years.
 4              Mandatory Attendance at Shareholder Meetings: Each member of the
 5 Board shall attend each annual stockholder meeting in person or by videoconference,
 6 teleconference, or other virtual means, unless he or she is unable to attend after reasonable,
 7 good-faith efforts, and informs the Board of his or her reasons for not attending. Banc
 8 agreed to maintain this policy for a minimum of two years.
 9         For a list of all of the Reforms, including the entire Whistleblower Policy, please see
10 Exhibits A-B to the Stipulation, which is available for viewing from the Court or on Banc's
11 website at https://investors.bancofcal.com/financials-and-filings/documents/default.aspx.
12 VI.     DISMISSAL AND RELEASES
13         If the Settlement is approved, the Court will enter the Judgment. Pursuant to the
14 Judgment, the Action will be dismissed in its entirety and with prejudice and, upon the
15 Effective Date of the Settlement, the following releases will occur:
16         Upon the Effective Date, Plaintiffs' Released Persons shall fully, finally, and forever
17 release, relinquish, and discharge as against Defendants' Released Persons any and all of
18 Plaintiffs' Released Claims, and shall forever be barred and enjoined from instituting,
19 commencing, or prosecuting any and all of Plaintiffs' Released Claims against Defendants'
20 Released Persons.
21         Upon the Effective Date, Defendants' Released Persons shall fully, finally, and
22 forever release, relinquish, and discharge as against Plaintiffs' Released Persons any and
23 all of Defendants' Released Claims, and shall forever be barred and enjoined from
24 instituting, commencing, or prosecuting any and all of Defendants' Released Claims
25 against Plaintiffs' Released Persons.
26         These releases shall not in any way impair or restrict the rights of any Party to
27 enforce the terms of the Stipulation.
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 1 VII. PLAINTIFFS' ATTORNEYS' FEES AND EXPENSES
 2         Plaintiffs' Counsel have not received any payment for their services in pursuing the
 3 claims asserted in the Action, nor have Plaintiffs' Counsel been reimbursed for their out-
 4 of-pocket expenses. Before final approval of the Settlement, Plaintiffs' Counsel intend to
 5 file an application to the Court for an award of attorneys' fees and litigation expenses in an
 6 amount not to exceed $1,500,000. Plaintiffs' Counsel also intend to apply to the Court for
 7 service awards of $2,000 for each of Plaintiffs (to be paid from the attorneys' fees awarded
 8 by the Court to Plaintiffs' Counsel in connection with their application for an award of
 9 attorneys' fees and expenses). Defendants reserve the right to oppose the amount of any
10 application for an award of fees, expenses, and service award.
11         Plaintiffs shall file all papers in support of the requested attorneys' fees and expenses
12 by October 29, 2021. Defendants shall file and serve papers, if any, in opposition to the
13 requested attorneys' fees by November 19, 2021.
14         The Court will determine the amount of any fee and expense award to Plaintiffs'
15 Counsel (the "Fee and Expense Award"). The full amount of any Fee and Expense Award
16 shall be paid by Banc's directors' and officers' insurance carrier(s). The Individual
17 Defendants shall have no obligation to pay any portion of the Fee and Expense Award or
18 such other amount as may be awarded by the Court. Banc stockholders are not personally
19 liable for any such fees or expenses.
20 VIII. THE SETTLEMENT HEARING
21         The Settlement Hearing will be held before the Honorable Dolly M. Gee, at the U.S.
22 District Court for the Central District of California, United States Courthouse, 350 West
23 1st Street, Courtroom 8C, 8th Floor, Los Angeles, California 90012 (the "Settlement
24 Hearing"), at which the Court will determine: (i) whether the terms of the Stipulation
25 should be approved as fair, reasonable, and adequate; (ii) whether the Notice fully satisfied
26 the requirements of Rule 23.1 of the Federal Rule of Civil Procedure and the requirements
27 of due process; (iii) whether all Released Claims against the Released Persons should be
28 fully and finally released; (iv) the amount of attorneys' fees and expenses to be approved,
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 1 and the amount of any service awards; and (v) such other matters as the Court may deem
 2 appropriate. The Settlement Hearing may be continued by the Court at the Settlement
 3 Hearing, or at any adjourned session thereof without further notice.
 4 IX.     THE RIGHT TO OBJECT AND/OR BE HEARD AT THE HEARING
 5         Any Banc stockholder who owned Banc of California common stock as of the
 6 Execution Date of the Stipulation and who continues to hold their Banc common stock as
 7 of the date of the Settlement Hearing may object and/or appear and show cause, if he, she,
 8 or it has any concern, why the Settlement should not be approved as fair, reasonable, and
 9 adequate, or why the Judgment should not be entered thereon, or why the amount of
10 attorneys' fees and reimbursement of expenses should not be approved. However, unless
11 otherwise ordered by the Court, you shall only be heard or entitled to contest the approval
12 of the terms and conditions of the Settlement, or, if approved, the Judgment to be entered
13 thereon approving the same, or the amount of attorneys' fees and reimbursement of
14 expenses to Plaintiffs' Counsel, if you have, by no later than November 19, 2021, served
15 upon each of the Parties' counsel listed below a written notice of objection containing the
16 following information:
17         1.    Your name, legal address, and telephone number;
18         2.    The case name and number (In re Banc of California, Inc. Stockholder
19 Derivative Litigation, Lead Case No. 8:19-cv-621-DMG-DFMx);
20         3.    Documentation sufficient to show that the objector owned shares of Banc
21 common stock as of August 27, 2021, including a statement that the objector continues to
22 hold such shares as of the date of filing of the objection and will continue to hold those
23 shares as of the date of the Settlement Hearing;
24         4.    A statement of each objection being made;
25         5.    Notice of whether you intend to appear at the Settlement Hearing (you are not
26 required to appear); and
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 1         6.     Copies of any papers you intend to submit to the Court, along with the names
 2 of any witness(es) you intend to call to testify at the Settlement Hearing and the subject(s)
 3 of their testimony.
 4         All written objections and supporting papers must be e-mailed or post-marked on or
 5 before November 19, 2021, and served upon each of the following Parties' counsel:
 6         Counsel for Plaintiffs:               Counsel for Defendants:
 7
           Ashley R. Rifkin                      Mark R. McDonald
 8         ROBBINS LLP                           MORRISON AND FOERSTER LLP
           5040 Shoreham Place                   707 Wilshire Boulevard Suite 6000
 9         San Diego, CA 92122                   Los Angeles, CA 90017-3543
10         Telephone: (619) 525-3990             Telephone: (213) 892-5200
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11         E-mail: arifkin@robbinsllp.com        E-mail: mmcdonald@mofo.com
12         Willem F. Jonckheer                   Counsel for Nominal Defendant Banc
           SCHUBERT JONCKHEER                    of California, Inc.
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18         Co-Lead Counsel for Plaintiffs        E-Mail: John.Spiegel@mto.com
                                                         John.Gildersleeve@mto.com
19
                                                 Counsel for Defendant John Grosvenor
20
21                                               Robert A. Sacks
                                                 SULLIVAN & CROMWELL LLP
22                                               1888 Century Park East
                                                 Los Angeles, CA 90067-1725
23                                               Telephone: (310) 712-6640
24                                               Facsimile: (310) 712-8800
                                                 E-Mail: sacksr@sullcrom.com
25
                                                 Counsel for Defendant Chad T.
26                                               Brownstein
27                                               Roman E. Darmer
28                                               Robert M. Tiefenbrun
                                                 JONES DAY
                                              - 13 -
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                                                    3161 Michelson Drive, Suite 800
 1                                                  Irvine, CA 92612
 2                                                  Telephone: (949) 851-3939
                                                    Facsimile: (949) 553-7539
 3                                                  E-mail: rdarmer@jonesday.com
                                                             rtiefenbrun@jonesday.com
 4
 5                                                  Counsel for Defendants Robert D.
                                                    Sznewajs, Jonah F. Schnel, Halle J.
 6                                                  Benett, Richard J. Lashley, Douglas
                                                    Bowers and Jeffrey Karish
 7
 8
 9         YOUR WRITTEN OBJECTIONS MUST BE POSTMARKED OR E-MAILED TO
10 THE PARTIES' COUNSEL LISTED ABOVE BY NO LATER THAN NOVEMBER 19,
11 2021. Plaintiffs' Counsel will then file your objection with the Court by no later than
12 December 3, 2021. Only stockholders who have submitted valid and timely written notices
13 of objection will be entitled to be heard at the Settlement Hearing unless the Court orders
14 otherwise.
15       Unless otherwise ordered by the Court, any Banc stockholder who owned Banc of
16 California common stock as of the Execution Date of the Stipulation and who continues to
17 hold their Banc common stock as of the date of the Settlement Hearing who does not make
18 his, her, or its objection in the manner provided herein shall be deemed to have waived
19 such objection and shall forever be barred and foreclosed from making any objection to the
20 fairness, reasonableness, or adequacy of the Settlement, or to otherwise be heard, and shall
21 otherwise be bound by the Judgment to be entered and the releases to be given.
22 X.      EXAMINATION OF PAPERS AND INQUIRIES
23         There is additional information concerning the Settlement available in the
24 Stipulation,      which     is    available    for     viewing    on     Banc's     website     at
25 https://investors.bancofcal.com/financials-and-filings/documents/default.aspx : In addition, as of
26 October 29, 2021, Plaintiffs' motion in support of Court approval of the Settlement and
27 Plaintiffs' Counsel's application for attorney's fees, costs, and expenses will be available
28 for viewing on Plaintiffs' Counsel's website at https://robbinsllp.com/bancofcalifornia-
                                                 - 14 -
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 1 settlement/. You may also inspect the Stipulation during business hours at the office of the
 2 Clerk of the Court, U.S. District Court for the Central District of California, United States
 3 Courthouse, 350 West 1st Street, Courtroom 8C, 8th Floor, Los Angeles, California 90012.
 4 Or you can call Robbins LLP, 5040 Shoreham Place, San Diego, CA 92122, telephone:
 5 (619) 525-3990, for additional information concerning the settlement.
 6
 7
 8
                PLEASE DO NOT CONTACT THE COURT OR BANC REGARDING
 9                                 THIS NOTICE.
10
11     DATED:
12                                    BY ORDER OF THE UNITED STATES DISTRICT
                                      COURT FOR THE CENTRAL DISTRICT OF
13                                    CALIFORNIA
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